                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


WILLIAM LEE GRANT II,
                              Plaintiff,
                   v.                             Case No. 4:19-cv-00031-RRB
SPECIAL COLLECTION SERVICE, et al,
                              Defendants.


                                ORDER OF DISMISSAL

         On September 10, 2019, self-represented litigant, William Lee Grant II, filed

a “14th Amendment Complaint,” along with an Application to Waive the Filing Fee. 1

         Mr. Grant alleges a vast conspiracy in which he names the Special

Collection Service, Office of the Secretary of Defense, the Missile Defense

Agency, the State of Illinois as defendants. 2 Mr. Grant alleges constitutional

violations under the Fourth, Fifth, Seventh, and Fourteenth Amendments of the

U.S. Constitution, styled as: “What are the Ramifications of the DOD keeping

Mr. Grant in Illinois for nearly thirty (30) years under the threat of military force?”

         Mr. Grant alleges that President Ronald Reagan directed the Secretary of

Defense “to create Mr. Grant in the basement of the Pentagon to predict future

nuclear missile attacks.” 3 He further alleges that he was taken to Springfield,



1   Dockets 1-2.
2   Docket 1 at 1.
3   Docket 1 at 2.



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Illinois, where he was “beaten; endure[d] psychological warfare; and to be the

United States Department of Defense’s witness to the 9/11 terrorist attacks,” and

was illegally surveilled by the U.S. Attorney’s Office for the District of Central

Illinois. 4     He further alleges that the government surveillance resulted in

interference with his medical care and a false driving under the influence charge,

and forced him to “act gay” under threat of sexual violence. 5 Mr. Grant also alleges

that he worked for the State of Illinois, but his employment was fraught with

difficulties and ended in him “blacklisted.” 6

         Mr. Grant makes vast allegations against numerous government officials

and agencies. 7 He alleges that he has been sexually assaulted by several people

at the direction of an Assistant U.S. Attorney. He also alleges a variety of political

and government conspiracy theories citing numerous local, state, and federal

government officials and agencies, including the Central Intelligence Agency, the

National Security Agency, and the Missile Defense Agency. Mr. Grant also alleges

a variety of celebrity and international conspiracy theories including, but not limited

to, those surrounding British royalty, Louis Farrakhan, Suge Knight, O.J. Simpson,

and Kurt Cobain, and discusses the genitals of several public figures.



4   Docket 1 at 2.
5   Docket 1 at 2-3
6   Docket 1 at 3-5.
7   Docket 1 at 5-15.

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         For relief, Mr. Grant requests damages in the amount of “$99 trillion.” 8

                               SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking to proceed in a lawsuit in

federal court without paying the filing fee. 9 In this screening, the court shall dismiss

the case at any time if it determines that the action:

                (i)     is frivolous or malicious;

                (ii)    fails to state a claim on which relief may be granted; or

                (iii)   seeks monetary relief against a defendant who is immune
                        from such relief. 10

         To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.” 11 In conducting its

review, the court must liberally construe a self-represented plaintiff’s pleading and




8   Docket 1 at 11.
9   See, e.g., Lopez v. Smith, 203 F.3d 1122, 1126 n.7 (9th Cir. 2000).
10   28 U.S.C. § 1915(e)(2)(B).
11Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian
Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).


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give the plaintiff the benefit of the doubt. 12 Before the court may dismiss any

portion of a complaint for failure to state a claim upon which relief may be granted,

it must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 13

                                         DISCUSSION

           Mr. Grant has failed to state a claim upon which relief can be granted by this

Court. Additionally, Mr. Grant has already litigated these allegations at multiple

courts across the country, rendering this lawsuit frivolous.             Therefore, the

complaint must be dismissed with prejudice.

      I.      Failure to State a Claim

           A complaint needs to provide “a short and plain” description of claims and

what specific law was violated. Rule 8 of the Federal Rules of Civil Procedure

expressly requires that a plaintiff provide “a short and plain statement of the claim

showing that the pleader is entitled to relief.” 14 Mr. Grant’s complaint is a dense

narrative which discusses his numerous allegations concerning his own birth or




12See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773
F.2d 1026, 1027 n.1 (9th Cir. 1985) (en banc)).
13See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).
14   Fed. R. Civ. P. 8(a)(2).


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“creation,” his role as part of a Department of Defense creation and/or operative,

specific events that occurred at unknown places and times in his life, and

numerous government and celebrity conspiracy theories.

         Mr. Grant has not alleged a short and plain statement of the facts that shows

a violation of Mr. Grant’s constitutional rights by any of the named defendants.

Importantly, Mr. Grant does not allege facts that support his core allegation: “What

are the ramifications of the DOD keeping Mr. Grant in Illinois for nearly thirty (30)

years under the threat of military force?” Even if Mr. Grant has a legitimate

employment claim against the State of Illinois, the District of Alaska would be an

improper venue and there are no facts to support a transfer of this case to Illinois. 15

This is especially true in light of Mr. Grant’s extensive litigation featuring some or

all of the defendants across all the federal district courts of Illinois. 16 Thus, Mr.


15   See generally 28 U.S.C. §§ 1391, 1404.
16  Judicial notice is the “court’s acceptance, for purposes of convenience and without
requiring a party’s proof, of a well-known and indisputable fact; the court’s power to
accept such a fact.” Black’s Law Dictionary (10th ed. 2014); see also Headwaters Inc. v.
U.S. Forest Service, 399 F.3d 1047, 1051 n.3 (9th Cir. 2005) (“Materials from a
proceeding in another tribunal are appropriate for judicial notice.”) (internal quotation
marks and citation omitted); see also Fed. R. Evid. 201; See Grant, II v. U.S. Dept. of
Defense et al., Case No. 3:19-cv-00979 (S.D. Ill. 2019); Grant v. U.S. Dept. of Defense,
Case No. 3:19-cv-00332 (S.D. Ill. 2019); Grant v. Office of the Illinois Governor, Case
No. 3:19-cv-03025 (C.D. Ill. 2019); Grant v. U.S. Department of Defense et al., Case
No. 3:19-cv-03020 (C.D. 2019); Grant v. Dunford et al., Case No. 3:19-cv-03016 (C.D.
Ill. 2019); Grant v. Dunford et al., Case No. 3:19-cv-03019 (C.D. Ill. 2019); Grant v.
Mattis et al., Case No. 3:19-cv-03018 (C.D. Ill. 2019); Grant v. Harris et al., Case No.
3:19-cv-03017 (C.D. Ill. 2019); Grant v. Harris et al., Case No. 3:19-cv-03015 (C.D. Ill.
2019); Grant v. Mattis et al., Case No. 3:19-cv-03014 (C.D. Ill. 2019); Grant v. U.S.
Department of Defense et al., Case No. 3:19-cv-03001 (C.D. 2019); Grant v. US
Department of Defense, Case No. 3:18-cv-03189 (C.D. Ill. 2018); Grant v. US

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Grant has failed to state a claim upon which relief may be granted, and his

complaint must be dismissed.

      II.      Frivolous Lawsuits

            In accordance with federal law, a court must dismiss a case “at any time if

the court determines that the action or appeal is frivolous or malicious.” 17 The term

frivolous, or frivolous as a matter of law, is a legal term. It means that a case or

complaint “lacks an arguable basis either in law or in fact.” 18 When a court

evaluates for whether a complaint is frivolous, it must “pierce the veil of the

complaint’s factual allegations to determine whether they are fanciful, fantastic, or

delusional.” 19      Additionally, a complaint may be frivolous if it merely repeats

pending or previously litigated claims.” 20


Department of Defense, Case No. 3:18-cv-03131 (C.D. Ill. 2019); Grant v. US
Department of Transportation et al., Case No. 3:18-cv-03130 (C.D. Ill. 2018); Grant v.
Office of the Illinois Governor, Case No. 3:18-cv-03073 (C.D. Ill. 2018); Grant v. Illinois
Department of Employment Security, Case No. 3:18-cv-03054 (C.D. Ill. 2018); Grant v.
Kabaker et al., Case No. 3:17-cv-03302 (C.D. Ill. 2017); Grant v. U.S. Department of
Justice, Case No. 3:17-cv-03274 (C.D. Ill. 2017); Grant, II v. U.S. Department of Justice,
Case No. 3:17-cv-01257 (S.D. Ill. 2017); Grant v. Kabaker et al., Case No. 3:17-cv-
03261 (C.D. Ill. 2017); Grant v. Kabaker et al., Case No. 3:17-cv-03257 (C.D. Ill. 2017);
Grant v. Kabaker et al., Case No. 1:17-cv-07092 (N.D. Ill. 2017); Grant v. Illinois
Department of Employment Security; Case No. 3:17-cv-03207 (C.D. Ill. 2017); Grant v.
State of Illinois, Case No. 3:17-cv-03206 (C.D. Ill. 2017); Grant v. Illinois Department of
Transportation; Case No. 3:17-cv-03203 (C.D. Ill. 2017).
17   28 U.S.C. § 1915(e)(2)(B); see also 28 U.S.C. § 1915A(b)(1); 42 U.S.C. § 1997e(c)(1).
18   Neitzke v. Williams, 490 U.S. 319, 325 (1989).
19   Neitzke, 490 U.S. at 327-28; see also Denton v. Hernandez, 504 U.S. 25, 33 (1992).
20   Cato v. United States, 70 F.3d 1103, 1105 n.2 (9th Cir. 1995).


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        Mr. Grant’s complaint does not present allegations that support a claim with

an arguable basis in either law or fact. Mr. Grant’s narrative begins with his

allegation that he was created by the Department of the Defense inside the

Pentagon and ends with a listing of celebrity conspiracy theories. Additionally, by

Mr. Grant’s own admission in addition to the Court’s review of dockets across the

country, Mr. Grant has litigated these claims in numerous courts. 21 Accordingly,

because Mr. Grant’s complaint does not demonstrate an arguable basis in law or

fact, in addition to have been filed in numerous other jurisdictions, this case is

frivolous. Therefore, it must be dismissed.

        IT IS THEREFORE ORDERED:

1. The Complaint is DISMISSED WITH PREJUDICE for failure to state a claim

     upon which relief may be granted and frivolousness;

2. All pending motions are DENIED AS MOOT.

3. The Clerk of Court is directed to enter a Final Judgment in this case.

        DATED at Anchorage, Alaska this 30th day of October, 2019.

                                                   /s/ Ralph R. Beistline
                                                   Senior United States District Judge




21 Docket 1 at 9, 11, 13-15; see also supra FN 16; the Court takes judicial notice that a
search of district court filings from Mr. William Lee Grant returns 131 case filings.
These filings feature the same or similar defendants across the country, including the
District Courts of Massachusetts, Tennessee, California, Colorado, Hawaii, Virginia,
Utah, Maryland, Florida, Guam, the Northern Mariana Islands, North Carolina, Rhode
Island, the Virgin Islands, Texas, District of Columbia, New York, and Nebraska.

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